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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA                         :
                                                  :
        v.                                        :          Criminal No. GJH-19-0096
                                                  :
 CHRISTOPHER PAUL HASSON                          :
                                                  :
        Defendant                                 :


             CONSENT MOTION TO TEMPORARILY SEAL DOCUMENTS

       The Defendant, Christopher Paul Hasson, through his undersigned counsel, hereby moves

this Honorable Court for an order directing the Clerk of Court to temporarily place under seal

certain documents pertaining to the release conditions set by this Court, until personal identifying

information of nonparties can be redacted from those documents. As the Court is aware, the release

paperwork contains names and addresses of multiple family members of Mr. Hasson who are not

parties to this case. In order to protect the personal identifying information of those individuals,

the parties are in agreement that the documents should be placed temporarily under seal until

redacted copies can be provided to the Clerk of Court for public filing. Counsel for the government

consents to this motion. A proposed order is attached.


                                              JAMES WYDA
                                              Federal Public Defender


                                                             /s/
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